                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


Atlas Uluslararasi Kumanyacılık tic A.Ş
Atlas Gemi Vanalari ve Ekipmanlari Tic Ltd
Sti,                                             CIVIL ACTION N.: 20-679-RGA
       Plaintiffs,
                                                 IN ADMIRALTY, Rule 9(h)
vs.

M/V ARICA, IMO 9399741, its engines,
tackle and apparel,
        Defendant in rem,

and

FS Arica, Ltd.,
       Defendant in personam,

and

The Master of the M/V ARICA,
      Garnishee.


NETWORK SHIPPING LTD.,
    Intervenor Plaintiff,

vs.

FS Arica, Ltd.,
       Defendant,

and

The Master of the M/V ARICA,
      Garnishee.




                       MOTION FOR DEFAULT JUDGMENT



                                             1
Intervening Plaintiff Network Shipping Ltd (“Network”) hereby requests, pursuant to Fed. R.

Civ. P. 55(b)(1), that default judgment be entered against Defendant M/V ARICA, IMO

9399741, in the amount of $292,686.34, plus attorneys’ fees, interest and costs of at least

$25,000, for a total amount of $317,686.34. As set forth in the accompanying Memorandum of

Law, the conditions of Rule 55(b) have been satisfied and entry of default judgment is proper as

a matter of law.

                                      YOUNG CANAWAY STARGATT & TAYLOR LLP

                                      /s/ Timothy Jay Houseal
                                      _________________________________
                                      Timothy Jay Houseal (Del. Bar ID No. 2880)
                                      Rodney Square
                                      1000 North King Street
                                      Wilmington, DE 19801
                                      (302) 571-6682
                                      thouseal@ycst.com

Admitted Pro Hac Vice

Martin F. Casey
Gregory G. Barnett
Casey & Barnett LLC                   Attorneys for Network Shipping Ltd.
305 Broadway, Ste 1202
New York, New York 10007
Tel: 212-286-0225
Fax: 212-286-0261
mfc@caseybarnett.com
ggb@caseybarnett.com

Dated: July 6, 2020
